                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION


 TERRY KING,                                    )
                                                )
        Plaintiff,                              )
                                                )       NO. 3:18-cv-01234
 v.                                             )
                                                )       JUDGE CAMPBELL
 LISA HELTON, et al.,                           )
                                                )
        Defendants.                             )




   DONALD MIDDLEBROOKS,                             )
                                                    )
          Plaintiff,                                )
                                                    )     NO. 3:19-cv-01139
   v.                                               )
                                                    )     JUDGE CAMPBELL
   LISA HELTON, et al.,                             )
                                                    )
          Defendants.                               )



                                             ORDER

         On January 12, 2020, Defendants filed a Notice of Completion of the Independent

  Investigation of the Lethal Injection Process and Unopposed Motion to Extend Stay of the

  Proceedings. (Doc. No. 224, King v. Helton, Case No. 3:18-cv-01234 (“King”)). Although

  Defendants appear to have intended the Notice and Motion to apply to King v. Helton and

  Middlebrooks v. Helton, Case No. 3:19-cv-01139 (“Middlebrooks”), the aforementioned

  filing was not filed in Middlebrooks. For clarity of the record, Defendants are directed to file

  the Notice and Motion in Middlebrooks.

         Somewhat related to the Motion to Extend Stay, Donald Middlebrooks has moved to



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  temporarily reopen the case and to issue an order for preservation of evidence, stating

  concerns about the possible loss of evidence during an indefinite stay. (Middlebrooks, Doc.

  No. 64). Defendants shall respond to Mr. Middlebrooks’ Motion on or before January 20,

  2023.

          The Court will reserve ruling on the Motion to Extend Stay pending resolution of

  Mr. Middlebrooks’ Motion concerning preservation of evidence.

          It is so ORDERED.


                                                   _________________________________
                                                   WILLIAM L. CAMPBELL, JR.
                                                   UNITED STATES DISTRICT JUDGE




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